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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE
                                             Lead C.A. No.: 1:20-cv-00989-CFC
    IN RE THE CHEMOURS
    COMPANY STOCKHOLDER                      (Consolidated with C.A. No. 1:20-cv-
    DERIVATIVE LITIGATION                    00995-CFC)

    This Document Relates To:
    ALL ACTIONS.


                STIPULATION OF VOLUNTARY DISMISSAL
              WITHOUT PREJUDICE AND [PROPOSED] ORDER

        WHEREAS, on August 14, 2020, the Court consolidated two stockholder

derivative actions filed by plaintiffs Brason Lee and Lesley Savage (collectively, the

"Plaintiffs") against the Individual Defendants,1 current and former directors and officers

of nominal defendant The Chemours Company ("Chemours" or the "Company," and

together with the Individual Defendants, the "Defendants"), titled In Re The Chemours

Company Stockholder Derivative Litigation, Lead C.A. No. 1:20-cv-00989-CFC (the

"Derivative Action");

        WHEREAS, pursuant to Rules 23.1(c) and 41(a) of the Federal Rules of Civil

Procedure, Plaintiffs now wish to voluntarily dismiss the Derivative Action without

prejudice;



1
 "Individual Defendants" refer to Mark P. Vergnano, Mark E. Newman, Richard H.
Brown, Curtis V. Anastasio, Bradley J. Bell, Mary B. Cranston, Curtis J. Crawford,
Dawn L. Farrell, Sean D. Keohane, Erin N. Kane, and Stephen D. Newlin.

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       WHEREAS, the parties agree that each side shall bear its own costs and fees; and

       WHEREAS, the parties respectfully submit that notice of this dismissal to

Chemours stockholders pursuant to Federal Rule of Civil Procedure 23.1(c) is not

required here because: (i) Defendants have not answered or otherwise responded to the

operative complaint; (ii) there has been no settlement or compromise of the Derivative

Action; (iii) there has been no collusion among the parties; and (iv) neither Plaintiffs nor

their counsel have received or will receive directly or indirectly any consideration from

Defendants for the dismissal.

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the

parties through their undersigned counsel, pursuant to Rules 23.1(c) and 41(a)(1)(A)(ii)

of the Federal Rules of Civil Procedure and subject to Court approval, that:

       1.     This Derivative Action is dismissed in its entirety without prejudice;

       2.     For the reasons stated above, no notice of this dismissal is required; and

       3.     The parties are to bear their own costs, fees, and expenses.

IT IS SO STIPULATED.

                                          COOCH AND TAYLOR, P.A.

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Dated: June 9, 2022                Farrell, Sean D. Keohane, Erin N. Kane,
                                   Stephen D. Newlin, and The Chemours
                                   Company

IT IS SO ORDERED.
 DATED:___________________         HON. COLM F. CONNOLLY
                                   U.S.D.C. JUDGE
